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                                               United States Bankruptcy Court                                                                                  Voluntary Petition
                                                Southern District of New York
Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
Patriot Coal Corporation                                                                               N/A
All Other Names used by the Debtor in the last 8 years                                                 All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                            (include married, maiden, and trade names):
Eastern Coal Holding Company, Inc.; Patriot Coal Corporation Midwest                                   N/A

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):                                                                         (if more than one, state all):
XX-XXXXXXX                                                                                             N/A
Street Address of Debtor (No. & Street, City, and State):                                              Street Address of Joint Debtor (No. & Street, City, and State):
12312 Olive Boulevard, Suite 400                                                                       N/A
Saint Louis, Missouri
                                                       ZIP CODE 63141                                                                                               ZIP CODE
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
Saint Louis County, MO                                                                                 N/A
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street
                                                                                                    address):
                                                                                                       N/A
                                                              ZIP CODE                                                                                              ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
New York, NY                                                                                                                                                        ZIP CODE 10019
                 Type of Debtor                                             Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                        (Check one box.)                                       the Petition is Filed (Check one box)
                  (Check one box.)
                                                           Health Care Business
                                                           Single Asset Real Estate as defined in 11                Chapter 7
 Individual (includes Joint Debtors)                    U.S.C. § 101(51B)
                                                                                                                     Chapter 9                            Chapter 15 Petition for Recognition of
See Exhibit D on page 2 of this form.                      Railroad                                                                                         a Foreign Main Proceeding

                                                           Stockbroker                                              Chapter 11                           Chapter 15 Petition for Recognition of
 Corporation (includes LLC and LLP)
                                                           Commodity Broker                                         Chapter 12                             a Foreign Nonmain Proceeding
 Partnership
                                                           Clearing Bank                                            Chapter 13
 Other (If debtor is not one of the above                 Other
entities, check this box and state type of entity                                                                                                Nature of Debts
below.)                                                                                                                                           (Check one box)
                                                                        Tax-Exempt Entity
                                                                      (Check box, if applicable.)                     Debts are primarily consumer debts,                 Debts are primarily
                                                              Debtor is a tax-exempt organization under
                                                                                                                       defined in 11 U.S.C. § 101(8) as
                                                                                                                       "incurred by an individual primarily for
                                                                                                                                                                            business debts.
                                                         Title 26 of the United States Code (the Internal              a personal, family, or household purpose."
                                                         Revenue Code).
                                Filing Fee (Check one box.)                                            Check one box:             Chapter 11 Debtors
   Full Filing Fee attached                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                        Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must attach                Check if:
signed application for the court's consideration certifying that the debtor is unable to pay fee    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
except in installments. Rule 1006(b). See Official Form 3A.                                         affiliates) are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three
                                                                                                    years thereafter).
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach            ------------------------------------------------------
                                                                                                    Check all applicable boxes:
signed application for the court's consideration. See Official Form 3B.
                                                                                                        A plan is being filed with this petition.
                                                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                    in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR COURT USE ONLY

 Debtor estimates that funds will be available for distribution to unsecured creditors.
 Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
unsecured creditors.
Estimated Number of Creditors *

                                                                                                                                    
1-49          50-99            100-199        200-999        1,000-          5001-           10,001-         25,001-         50,001-         Over
                                                             5,000           10,000          25,000          50,000          100,000         100,000
Estimated Assets *
                                                                                                                                    
$0 to         $50,001 to     $100,001 to      $500,001      $1,000,001       $10,000,001     $50,000,001     $100,000,001    $500,000,001    More than
$50,000       $100,000       $500,000         to $1         to $10           to $50          to $100         to $500         to $1 billion   $1 billion
                                              million       million          million         million         million
Estimated Debts *
                                                                                                                                    
$0 to         $50,001 to     $100,001 to      $500,001      $1,000,001       $10,000,001     $50,000,001     $100,000,001    $500,000,001    More than
$50,000       $100,000       $500,000         to $1         to $10           to $50          to $100         to $500         to $1 billion   $1 billion
                                              million       million          million         million         million

*Estimated creditors, assets and liabilities are on a consolidated basis.
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Voluntary Petition                                                    Pg 2 ofName
                                                                              27 of Debtor(s): Patriot Coal Corporation
(This page must be completed and filed in every case)
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                    Case Number: N/A                                            Date Filed:
Where Filed:          N/A
Location                                                                                    Case Number: N/A                                            Date Filed:
Where Filed:          N/A
                Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: See Attachment 1                                                            Case Number: Not yet assigned.                              Date Filed:

District: Southern District of New York                                                     Relationship: Affiliates                                    Judge: Not yet assigned.

                                        Exhibit A                                                                                  Exhibit B
                                                                                                                    (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                whose debts are primarily consumer debts.)
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)            I, the attorney for the petitioner named in the foregoing petition, declare that I
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)          have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                            or 13 of title 11, United States Code, and have explained the relief available under
                                                                                            each such chapter. I further certify that I delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).
 Exhibit A is attached and made a part of this petition.                                    X
                                                                                                 Signature of Attorney for Debtor(s)                    (Date)

                                                                                    Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 Yes, and Exhibit C is attached and made a part of this petition.
 No
                                                                                    Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

     Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                               Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                 preceding the date of this petition or for a longer part of such 180 days than in any other District.

              There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
                 principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
                 or the interests of the parties will be served in regard to the relief sought in this District.
                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

              Landlord has a judgment against the debtor for possession of debtor's residence.       (If box checked, complete the following.)


                                                                                                 (Name of landlord that obtained judgment)


                                                                                                 (Address of landlord)

              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                 after the filing of the petition.

              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Voluntary Petition                                                   Pg 3 of Name
                                                                             27 of Debtor(s): Patriot Coal Corporation
(This page must be completed and filed in every case)
                                                                               Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                   Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true
                                                                                                    I declare under penalty of perjury that the information provided in this
and correct.
                                                                                                    petition is true and correct, that I am the foreign representative of a debtor
[If petitioner is an individual whose debts are primarily consumer debts and has
                                                                                                    in a foreign proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such              (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I                 Code. Certified copies of the documents required by 11 U.S.C. § 1515
have obtained and read the notice required by 11 U.S.C. § 342(b).                                       are attached.

                                                                                                     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States                              chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.
      X
          Signature of Debtor                                                                   X
      X                                                                                              (Signature of Foreign Representative)
          Signature of Joint Debtor
                                                                                                     (Printed Name of Foreign Representative)
          Telephone Number (If not represented by attorney)
                                                                                                     Date
          Date
                                 Signature of Attorney*                                             Signature of Non-Attorney Bankruptcy Petition Preparer

      X /s/ Marshall S. Huebner
        Signature of Attorney for Debtor(s)
                                                                                              I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
          Marshall S. Huebner
                                                                                              as defined in 11 U.S.C. § 110; 2) I prepared this document for compensation
          Printed Name of Attorney for Debtor(s)
                                                                                              and have provided the debtor with a copy of this document and the notices and
                                                                                              information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if
          Davis Polk & Wardwell LLP                                                           rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
          Firm Name                                                                           setting a maximum fee for services chargeable by bankruptcy petition
                                                                                              preparers, I have given the debtor notice of the maximum amount before
          450 Lexington Avenue                                                                preparing any document for filing for a debtor or accepting any fee from the
          New York, NY 10017                                                                  debtor, as required in that section. Official form 19 is attached.
          Address

          (212) 450-4000
          Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer


          07/09/12
          Date                                                                                      Social-Security number (If the bankruptcy petition preparer is not an
                                                                                                    individual, state the Social Security number of the officer, principal,
                                                                                                    responsible person or partner of the bankruptcy petition
                                                                                                    preparer.)(Required by 11 U.S.C. § 110.)
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information in
the schedules is incorrect.
                                                                                                     Address

                 Signature of Debtor (Corporation/Partnership)                                  X
I declare under penalty of perjury that the information provided in this petition is true            Signature
and correct, and that I have been authorized to file this petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                                  Date
                                                                                              Signature of Bankruptcy Petition Preparer or officer, principal, responsible
      X /s/ Jacquelyn A. Jones                                                                person, or partner whose social security number is provided above.
        Signature of Authorized Individual
                                                                                              Names and Social-Security numbers of all other individuals who prepared or
          Jacquelyn A. Jones                                                                  assisted in preparing this document unless the bankruptcy petition preparer is
          Printed Name of Authorized Individual                                               not an individual

          Vice President, Associate General Counsel & Corporate                               If more than one person prepared this document, attach additional sheets
          Secretary                                                                           conforming to the appropriate official form for each person.
          Title of Authorized Individual
                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
                                                                                              Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both 11
          07/09/12                                                                            U.S.C. § 110; 18 U.S.C. § 156.
          Date
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[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of
the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this Exhibit "A" shall be completed and attached to
the petition.]

                                                            United States Bankruptcy Court
                                                             Southern District of New York
 In re     Patriot Coal Corporation                                                                                Case No.        Not yet assigned.
                                                                                  Debtor(s)                        Chapter         11


                                          EXHIBIT "A" TO VOLUNTARY PETITION

1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
   number is 001-33466

2. The following financial data is the latest available information and refers to the debtor's condition on                       May 31, 2012.

a. Total assets *                                                                                             $                    3,568,840,000.00


b. Total debts (including debts listed in 2.c., below) *                                                      $                    3,072,248,000.00


c. Debt securities held by more than 500 holders:                                                                                           Approximate
                                                                                                                                             number of
                                                                                                                                              holders:

secured                unsecured         ;      subordinated                           $                    200,000,000.00

secured                unsecured         ;      subordinated                           $                    250,000,000.00

secured                unsecured                subordinated                           $
secured                unsecured                subordinated                           $
secured                unsecured                subordinated                           $

d. Number of shares of preferred stock

e. Number of shares common stock                                                                                  92,802,565

    Comments, if any:

3. Brief description of Debtor's business:
  Patriot Coal Corporation and its affiliates are leading producers and marketers of coal in the United States, with operations and coal
  reserves in the Appalachia (Northern and Central) and Illinois Basin coal regions. Their principal business is the mining and preparation
   of metallurgical coal and thermal coal.


4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
   voting securities of debtor:

   BlackRock, Inc.

   State Street Corporation

   The Vanguard Group, Inc.




  * Total assets and debts are on a consolidated basis.
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                                         ATTACHMENT 1

      PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

      On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the Southern District of New York. A motion has been filed with
the Court requesting that the chapter 11 cases of these entities be jointly administered.

                  Entity Name                          Case Number                    Judge
Affinity Mining Company                               Not Yet Assigned           Not Yet Assigned
Apogee Coal Company, LLC                              Not Yet Assigned           Not Yet Assigned
Appalachia Mine Services, LLC                         Not Yet Assigned           Not Yet Assigned
Beaver Dam Coal Company, LLC                          Not Yet Assigned           Not Yet Assigned
Big Eagle, LLC                                        Not Yet Assigned           Not Yet Assigned
Big Eagle Rail, LLC                                   Not Yet Assigned           Not Yet Assigned
Black Stallion Coal Company, LLC                      Not Yet Assigned           Not Yet Assigned
Black Walnut Coal Company                             Not Yet Assigned           Not Yet Assigned
Bluegrass Mine Services, LLC                          Not Yet Assigned           Not Yet Assigned
Brook Trout Coal, LLC                                 Not Yet Assigned           Not Yet Assigned
Catenary Coal Company, LLC                            Not Yet Assigned           Not Yet Assigned
Central States Coal Reserves of Kentucky, LLC         Not Yet Assigned           Not Yet Assigned
Charles Coal Company, LLC                             Not Yet Assigned           Not Yet Assigned
Cleaton Coal Company                                  Not Yet Assigned           Not Yet Assigned
Coal Clean LLC                                        Not Yet Assigned           Not Yet Assigned
Coal Properties, LLC                                  Not Yet Assigned           Not Yet Assigned
Coal Reserve Holding Limited Liability                Not Yet Assigned           Not Yet Assigned
Company No. 2
Colony Bay Coal Company                               Not Yet Assigned           Not Yet Assigned
Cook Mountain Coal Company, LLC                       Not Yet Assigned           Not Yet Assigned
Corydon Resources LLC                                 Not Yet Assigned           Not Yet Assigned
Coventry Mining Services, LLC                         Not Yet Assigned           Not Yet Assigned
Coyote Coal Company LLC                               Not Yet Assigned           Not Yet Assigned
Cub Branch Coal Company LLC                           Not Yet Assigned           Not Yet Assigned
Dakota LLC                                            Not Yet Assigned           Not Yet Assigned
Day LLC                                               Not Yet Assigned           Not Yet Assigned
Dixon Mining Company, LLC                             Not Yet Assigned           Not Yet Assigned
Dodge Hill Holding JV, LLC                            Not Yet Assigned           Not Yet Assigned
Dodge Hill Mining Company, LLC                        Not Yet Assigned           Not Yet Assigned
Dodge Hill of Kentucky, LLC                           Not Yet Assigned           Not Yet Assigned


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                  Entity Name                 Case Number                  Judge
EACC Camps, Inc.                             Not Yet Assigned         Not Yet Assigned
Eastern Associated Coal, LLC                 Not Yet Assigned         Not Yet Assigned
Eastern Coal Company, LLC                    Not Yet Assigned         Not Yet Assigned
Eastern Royalty, LLC                         Not Yet Assigned         Not Yet Assigned
Emerald Processing, L.L.C.                   Not Yet Assigned         Not Yet Assigned
Gateway Eagle Coal Company, LLC              Not Yet Assigned         Not Yet Assigned
Grand Eagle Mining, LLC                      Not Yet Assigned         Not Yet Assigned
Heritage Coal Company LLC                    Not Yet Assigned         Not Yet Assigned
Highland Mining Company, LLC                 Not Yet Assigned         Not Yet Assigned
Hillside Mining Company                      Not Yet Assigned         Not Yet Assigned
Hobet Mining, LLC                            Not Yet Assigned         Not Yet Assigned
Indian Hill Company LLC                      Not Yet Assigned         Not Yet Assigned
Infinity Coal Sales, LLC                     Not Yet Assigned         Not Yet Assigned
Interior Holdings, LLC                       Not Yet Assigned         Not Yet Assigned
IO Coal LLC                                  Not Yet Assigned         Not Yet Assigned
Jarrell's Branch Coal Company                Not Yet Assigned         Not Yet Assigned
Jupiter Holdings LLC                         Not Yet Assigned         Not Yet Assigned
Kanawha Eagle Coal, LLC                      Not Yet Assigned         Not Yet Assigned
Kanawha River Ventures I, LLC                Not Yet Assigned         Not Yet Assigned
Kanawha River Ventures II, LLC               Not Yet Assigned         Not Yet Assigned
Kanawha River Ventures III, LLC              Not Yet Assigned         Not Yet Assigned
KE Ventures, LLC                             Not Yet Assigned         Not Yet Assigned
Little Creek LLC                             Not Yet Assigned         Not Yet Assigned
Logan Fork Coal Company                      Not Yet Assigned         Not Yet Assigned
Magnum Coal Company LLC                      Not Yet Assigned         Not Yet Assigned
Magnum Coal Sales LLC                        Not Yet Assigned         Not Yet Assigned
Martinka Coal Company, LLC                   Not Yet Assigned         Not Yet Assigned
Midland Trail Energy LLC                     Not Yet Assigned         Not Yet Assigned
Midwest Coal Resources II, LLC               Not Yet Assigned         Not Yet Assigned
Mountain View Coal Company, LLC              Not Yet Assigned         Not Yet Assigned
New Trout Coal Holdings II, LLC              Not Yet Assigned         Not Yet Assigned
Newtown Energy, Inc.                         Not Yet Assigned         Not Yet Assigned
North Page Coal Corp.                        Not Yet Assigned         Not Yet Assigned
Ohio County Coal Company, LLC                Not Yet Assigned         Not Yet Assigned
Panther LLC                                  Not Yet Assigned         Not Yet Assigned
Patriot Beaver Dam Holdings, LLC             Not Yet Assigned         Not Yet Assigned
Patriot Coal Company, L.P.                   Not Yet Assigned         Not Yet Assigned
Patriot Coal Corporation                     Not Yet Assigned         Not Yet Assigned


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                  Entity Name                      Case Number               Judge
Patriot Coal Sales LLC                            Not Yet Assigned      Not Yet Assigned
Patriot Coal Services LLC                         Not Yet Assigned      Not Yet Assigned
Patriot Leasing Company LLC                       Not Yet Assigned      Not Yet Assigned
Patriot Midwest Holdings, LLC                     Not Yet Assigned      Not Yet Assigned
Patriot Reserve Holdings, LLC                     Not Yet Assigned      Not Yet Assigned
Patriot Trading LLC                               Not Yet Assigned      Not Yet Assigned
PCX Enterprises, Inc.                             Not Yet Assigned      Not Yet Assigned
Pine Ridge Coal Company, LLC                      Not Yet Assigned      Not Yet Assigned
Pond Creek Land Resources, LLC                    Not Yet Assigned      Not Yet Assigned
Pond Fork Processing LLC                          Not Yet Assigned      Not Yet Assigned
Remington Holdings LLC                            Not Yet Assigned      Not Yet Assigned
Remington II LLC                                  Not Yet Assigned      Not Yet Assigned
Remington LLC                                     Not Yet Assigned      Not Yet Assigned
Rivers Edge Mining, Inc.                          Not Yet Assigned      Not Yet Assigned
Robin Land Company, LLC                           Not Yet Assigned      Not Yet Assigned
Sentry Mining, LLC                                Not Yet Assigned      Not Yet Assigned
Snowberry Land Company                            Not Yet Assigned      Not Yet Assigned
Speed Mining LLC                                  Not Yet Assigned      Not Yet Assigned
Sterling Smokeless Coal Company, LLC              Not Yet Assigned      Not Yet Assigned
TC Sales Company, LLC                             Not Yet Assigned      Not Yet Assigned
The Presidents Energy Company LLC                 Not Yet Assigned      Not Yet Assigned
Thunderhill Coal LLC                              Not Yet Assigned      Not Yet Assigned
Trout Coal Holdings, LLC                          Not Yet Assigned      Not Yet Assigned
Union County Coal Co., LLC                        Not Yet Assigned      Not Yet Assigned
Viper LLC                                         Not Yet Assigned      Not Yet Assigned
Weatherby Processing LLC                          Not Yet Assigned      Not Yet Assigned
Wildcat Energy LLC                                Not Yet Assigned      Not Yet Assigned
Wildcat, LLC                                      Not Yet Assigned      Not Yet Assigned
Will Scarlet Properties LLC                       Not Yet Assigned      Not Yet Assigned
Winchester LLC                                    Not Yet Assigned      Not Yet Assigned
Winifrede Dock Limited Liability Company          Not Yet Assigned      Not Yet Assigned
Yankeetown Dock, LLC                              Not Yet Assigned      Not Yet Assigned




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          UNITED STATES BANKRUPTCY COURT  Pg 8 of 27
          SOUTHERN DISTRICT OF NEW YORK

          In re:
                                                                    Chapter 11

          PATRIOT COAL CORPORATION,                                 Case No. 12- [     ] (___)

                                                                    (Jointly Administered)
          Debtor.


                   LIST OF CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS


                The following is a list of creditors holding the 50 largest general unsecured claims against

        the Debtors and its affiliates that have filed a voluntary petition for relief under title 11 of the

        United States Code in the United States Bankruptcy Court for the Southern District of New York

        on the date hereof (collectively, the “Debtors”)1, on a consolidated basis. This list has been

        prepared from the books and records of the Debtors.

                This list is prepared in accordance with 1007(d) of the Federal Rules of Bankruptcy

        Procedure and Rule 1007-1 of the Local Bankruptcy Rules for filing in this chapter 11 case. The

        list does not include (a) persons who come within the definition of “insider” set forth in 11 U.S.C.

        § 101(31) or (b) secured creditors unless the value of the collateral is such that the unsecured

        deficiency places the creditor among the holders of the largest general unsecured claims.

                This list reflects the information existing and available as of the Petition Date. The

        Company reserves the right to amend this list based on information existing as of the filing date.

                The information presented herein, including the failure of the Company to list any claim as

        contingent, unliquidated or unknown, does not constitute an admission or waiver of the

        Company’s right to contest the validity, priority or amount of any claim.




1
    The Debtors are listed in Attachment 1 annexed hereto.
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       The information presented herein, including the failure of the Company to list any claim as contingent,

  unliquidated or unknown, does not constitute an admission or waiver of the Company’s right to contest the

  validity, priority or amount of any claim.

                        (1)                               (2)                              (3)                  (4)                   (5)

                                       Name, telephone number and complete          Nature of claim     Indicate if claim is   Amount of
Rank Name of creditor                  mailing address, including zip code, of      (trade debt, bank   contingent,            claim
                                       employee, agent, or department of creditor   loan, government    unliquidated,
                                       familiar with claim who may be contacted     contract, etc.)     disputed, or
                                                                                                        subject to setoff
 1    WILMINGTON TRUST COMPANY         WILMINGTON TRUST COMPANY                     8.25% SENIOR         UNLIQUIDATED             $250,000,000
                                       1100 NORTH MARKET STREET                     NOTES DUE 2018                             (Stated Principal)
                                       RODNEY SQUARE NORTH
                                       WILMINGTON, DE 19890
                                       FAX: (302) 636-4144
 2    US BANK NATIONAL ASSOCIATION     CORPORATE TRUST SERVICES                     3.25%                UNLIQUIDATED             $200,000,000
                                       60 LIVINGSTONE AVENUE                        CONVERTIBLE                                (Stated Principal)
                                       ST. PAUL, MN 55518                           SENIOR NOTES
                                                                                    DUE 2013
 3    ALPHA NATURAL RESOURCES, INC.    ALPHA NATURAL RESOURCES, INC.                CONTRACT             UNLIQUIDATED          UNLIQUIDATED
                                       ATTN JACINDA BELT                            DAMAGES
                                       999 CORPORATE BLVD SUITE 300
                                       LINTHICUM, MD 21090
                                       PHONE: (410) 689-7500
                                       FAX: (276) 628-2951
 4    BENTLEY BADGETT II AND LINDA     BENTLEY BADGETT II AND LINDA                 PROMISSORY                                       $7,332,550
      BADGETT                          BADGETT                                      NOTES
                                       TJ EDWARDS, DONALD BOWLES
                                       1822 N. MAIN STREET
                                       MADISONVILLE, KY 42431
                                       PHONE: (270) 821-0408
                                       PHONE: (270) 821-2913
                                       FAX: (270) 825-4350
 5    AMERICAN FREEDOM INNOVATIONS     AMERICAN FREEDOM INNOVATIONS                 REJECTION            UNLIQUIDATED          UNLIQUIDATED
      LLC                              LLC                                          DAMAGES
                                       250 CROSS POINT BLVD
                                       EVANSVILLE, IN 47715
                                       PHONE: 812-473-0700
                                       FAX: 812-425-2339
 6    CSX TRANSPORTATION INC           CSX TRANSPORTATION INC                       TRADE DEBT            CONTINGENT                 $6,352,748
                                       500 WATER ST, 15TH FL                                             UNLIQUIDATED
                                       JACKSONVILLE, FL 32202-4057
                                       PHONE: (904) 279-4967
 7    DAYTON POWER & LIGHT             DAYTON POWER & LIGHT                         REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                       ATTN: TERESA MARRINAN AND                    DAMAGES
                                       CHARLENE BELL
                                       1065 WOODMAN DRIVE
                                       DAYTON, OH 45432
                                       FAX: (937) 259-7250
                                       FAX: (937) 259-7848
                                       FAX: (937) 331-4990
 8    RICHARD WHITING                  RICHARD WHITING                              MISCELLANEOUS                                    $5,533,576
 9    JENNMAR CORPORATION              JENNMAR CORPORATION                          TRADE DEBT                                       $4,774,368
                                       258 KAPPA DRIVE
                                       PO BOX 111253
                                       PITTSBURGH, PA 15238
                                       PHONE: (412) 963-9071
                                       FAX: (412) 963-9767
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                        (1)                                (2)                              (3)                  (4)                  (5)

                                        Name, telephone number and complete          Nature of claim     Indicate if claim is   Amount of
Rank Name of creditor                   mailing address, including zip code, of      (trade debt, bank   contingent,            claim
                                        employee, agent, or department of creditor   loan, government    unliquidated,
                                        familiar with claim who may be contacted     contract, etc.)     disputed, or
                                                                                                         subject to setoff
 10   JMAC LEASING INC                  JMAC LEASING INC                             REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                        PO BOX 726                                   DAMAGES
                                        CEREDO, WV 25507
                                        FAX: 304-538-2439
 11   CAPITAL SOURCE BANK               CAPITAL SOURCE BANK                          REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                        ATTN: DAVID HEIDT                            DAMAGES
                                        30 SOUTH WACKER DRIVE, SUITE 3500
                                        CHICAGO, IL 60606
                                        PHONE: (312) 706-2102
                                        FAX: (312) 577-7902
 12   JOY MINING MACHINERY              JOY MINING MACHINERY                         TRADE DEBT                                      $3,346,303
                                        4111 N. WATER TOWER PLACE
                                        SUITE B
                                        MT. VERNON, IL 62864
                                        PHONE: (800) 742-5569
                                        FAX: (618) 242-8509
 13   CECIL I. WALKER MACHINERY CO.     CECIL I. WALKER MACHINERY CO.                TRADE DEBT                                      $3,339,153
                                        PO BOX 905258
                                        CHARLOTTE, NC 28290-5258
                                        PHONE: (304) 949-6400 EXT 2341
                                        FAX: (304)683-3113
 14   UNITED CENTRAL INDUSTRIAL         UNITED CENTRAL INDUSTRIAL SUPPLY             TRADE DEBT                                      $3,156,337
      SUPPLY                            1150 NATIONAL MINE ROAD
                                        MADISONVILLE, KY 42431
                                        PHONE: (270) 821-6333
                                        FAX: (270) 825-0244
 15   AMERICAN ELECTRIC POWER           AMERICAN ELECTRIC POWER                      TRADE DEBT           UNLIQUIDATED          UNLIQUIDATED
                                        PO BOX 24401
                                        CANTON, OH 44701-4404
                                        PHONE: (800) 982-4237
 16   CATERPILLAR GLOBAL MINING         CATERPILLAR GLOBAL MINING                    TRADE DEBT                                      $2,021,145
                                        2045 WEST PIKE STREET
                                        HOUSTON, PA 15342
                                        PHONE: (309) 675-1000
                                        FAX: (859) 497-0818
                                        FAX: (724) 743-1201
 17   RALEIGH MINE & INDUSTRIAL         RALEIGH MINE & INDUSTRIAL                    TRADE DEBT                                      $1,865,428
                                        PO BOX 72
                                        MOUNT HOPE, WV 25880
                                        PHONE: (304) 877-5503
                                        FAX: (304) 877-5684
 18   J. H. FLETCHER & CO.              J. H. FLETCHER & CO.                         TRADE DEBT                                      $1,776,261
                                        402 HIGH STREET
                                        HUNTINGTON, WV 25722-2187
                                        PHONE: (304) 525-7811
                                        FAX: (304) 523-1317
 19   INDUSTRIAL SUPPLY SOLUTIONS INC   INDUSTRIAL SUPPLY SOLUTIONS INC              TRADE DEBT                                      $1,371,701
                                        PO BOX 798012
                                        ST. LOUIS, MO 63179-8000
                                        FAX: (304) 346-1639
 20   AFCO                              AFCO                                         TRADE DEBT                                      $1,258,900
                                        4501 COLLEGE BLVD, SUITE 320
                                        LEAWOOD, KS 66211-2328
                                        PHONE: (800) 288-6901
 21   NELSON BROTHERS LLC               NELSON BROTHERS LLC                          TRADE DEBT                                      $1,150,614
                                        820 SHADES CREEK PARKWAY, SUITE
                                        2000
                                        BIRMINGHAM, AL 35209
                                        PHONE: (800) 972-2684
                                        FAX: (304) 340-1530
 22   RISH EQUIPMENT CO                 RISH EQUIPMENT CO                            TRADE DEBT                                      $1,099,571
                                        RT 44 YUMA CAMP RD
                                        LOGAN, WV 25601
                                        PHONE: (304) 752-9313
                                        PHONE: (304) 380-0282
                                        FAX: (304) 752-9318
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                        (1)                                 (2)                              (3)                  (4)                  (5)

                                         Name, telephone number and complete          Nature of claim     Indicate if claim is   Amount of
Rank Name of creditor                    mailing address, including zip code, of      (trade debt, bank   contingent,            claim
                                         employee, agent, or department of creditor   loan, government    unliquidated,
                                         familiar with claim who may be contacted     contract, etc.)     disputed, or
                                                                                                          subject to setoff
 23   JABO SUPPLY CORP                   JABO SUPPLY CORP                             TRADE DEBT                                       $866,857
                                         PO BOX 238
                                         HUNTINGTON, WV 25707-0238
                                         PHONE: (304) 736-8333
                                         FAX: (304) 736-8551
 24   ENVIROMINE INC                     ENVIROMINE INC                               TRADE DEBT                                       $835,060
                                         PO BOX 11716
                                         CHARLESTON, WV 25339
                                         PHONE: (304) 552-3379
                                         FAX: (888) 248-5302
 25   MONK MINING SUPPLY, INC.           MONK MINING SUPPLY, INC.                     TRADE DEBT                                       $799,695
                                         PO BOX 905895
                                         CHARLOTTE, NC 28290-5895
                                         PHONE: (276) 988-9641
                                         FAX: (276) 988-8263
 26   SGS NORTH AMERICA INC              SGS NORTH AMERICA INC                        TRADE DEBT                                       $765,701
                                         P. O. BOX 2502
                                         CAROL STREAM, IL 60132-2502
                                         PHONE: (270) 827-1187
                                         FAX: (270) 826-0719
 27   BANK OF THE WEST                   BANK OF THE WEST                             REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                         ATTN: SUZANNE WEAVER                         DAMAGES
                                         844 WEST PAMPA
                                         MESA, AZ 85210
                                         PHONE: (480) 768-1799
                                         FAX: (480) 456-0047
 28   CHISLER INC                        CHISLER INC                                  TRADE DEBT                                       $714,937
                                         153 BLUE GOOSE RD
                                         FAIRVIEW, WV 26570
                                         PHONE: (304) 798-3202
                                         FAX: (304) 798-3211
 29   SUNCREST RESOURCES LLC             SUNCREST RESOURCES LLC                       TRADE DEBT                                       $700,000
                                         2550 EAST STONE DRIVE
                                         SUITE 200
                                         KINGSPORT, TN 37660
                                         PHONE: (423) 723-0230
 30   COGAR MANUFACTURING INC            COGAR MANUFACTURING INC                      TRADE DEBT                                       $693,888
                                         PO BOX 532
                                         BECKLEY, WV 25802
                                         PHONE: (304) 252-4435
                                         FAX: (304) 252-8003
                                         FAX: (304) 252-4514
 31   I.B.M. CORP.                       I.B.M. CORP.                                 TRADE DEBT                                       $685,878
                                         PO BOX 534151
                                         ATLANTA, GA 30353-4151
                                         PHONE: (845) 759-2526
 32   POWELL CONSTRUCTION CO., INC       POWELL CONSTRUCTION CO., INC                 TRADE DEBT                                       $675,250
                                         3622 BRISTOL HIGHWAY
                                         JOHNSON CITY, TN 37601
 33   SHONK LAND COMPANY LLC             SHONK LAND COMPANY LLC                       TRADE DEBT                                       $670,000
                                         PO BOX 969
                                         CHARLESTON, WV 25324
 34   ALLEGHENY POWER                    ALLEGHENY POWER                              TRADE DEBT           UNLIQUIDATED          UNLIQUIDATED
                                         800 CABIN HILL DRIVE
                                         GREENSBURG, PA 15601-0001
                                         PHONE: (800) 255-3443
 35   PENN VIRGINIA OPERATING CO LLC     PENN VIRGINIA OPERATING CO LLC               TRADE DEBT                                       $633,981
                                         PO BOX 102992
                                         ATLANTA, GA 30368-2992
 36   MINE EQUIPMENT & MILL SUPPLY CO    MINE EQUIPMENT & MILL SUPPLY CO              TRADE DEBT                                       $614,733
                                         370 MINE EQUIPMENT ROAD
                                         DAWSON SPRINGS, KY 42408
                                         PHONE: (812) 402-4070
                                         FAX: (812) 402-4077
                                         FAX: (270) 797-3010
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                                       Name, telephone number and complete          Nature of claim     Indicate if claim is   Amount of
Rank Name of creditor                  mailing address, including zip code, of      (trade debt, bank   contingent,            claim
                                       employee, agent, or department of creditor   loan, government    unliquidated,
                                       familiar with claim who may be contacted     contract, etc.)     disputed, or
                                                                                                        subject to setoff
 37   LOGAN CORP                       LOGAN CORP                                   TRADE DEBT                                       $584,699
                                       212 NORTH OHIO AVE
                                       CLARKSBURG, WV 26301
                                       PHONE: (800) 473-0110
                                       FAX: (304) 623-5676
                                       FAX: (304) 759-4817
 38   FLOMIN COAL INC                  FLOMIN COAL INC                              TRADE DEBT                                       $581,599
                                       PO BOX 405655
                                       ATLANTA, GA 30384-5655
                                       PHONE: (606) 432-1535
                                       FAX: (606) 437-0563
                                       FAX: (606) 835-9146
 39   KOMATSU FINANCIAL LIMITED        KOMATSU FINANCIAL LIMITED                    REJECTION            UNLIQUIDATED          UNLIQUIDATED
      PARTNERSHIP                      PARTNERSHIP                                  DAMAGES
                                       ATTN: JIMMY JOSEPH
                                       1701 WEST GOLF ROAD
                                       SUITE 300
                                       CHICAGO, IL 60693
                                       PHONE: (847) 437-5800
                                       FAX: (847) 437-7097
 40   SOMERSET CAPITAL GROUP, LTD.     SOMERSET CAPITAL GROUP, LTD.                 REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                       ATTN: YOLANDA DELANEY                        DAMAGES
                                       MERRITT CORPORATE WOODS
                                       612 WHEELERS FARMS RD
                                       MILFORD, CT 06461
                                       PHONE: (203) 382-2721
                                       FAX: (203) 394-6192
 41   PHILLIPS 66 RECEIVABLE           PHILLIPS 66 RECEIVABLE                       TRADE DEBT                                       $539,264
                                       21064 NETWORK PLACE
                                       CHICAGO, IL 60673-1210
                                       PHONE: (800) 448-6630
 42   GE CAPITAL TMS                   GE CAPITAL TMS                               TRADE DEBT                                       $532,378
                                       P. O. BOX 3083
                                       CEDAR RAPIDS, IA 52406-3083
                                       FAX: (319) 841-6324
 43   CHISLER BROTHERS CONTRACTING     CHISLER BROTHERS CONTRACTING                 TRADE DEBT                                       $495,730
      LLC                              LLC
                                       PO BOX 101
                                       PENTRESS, WV 26544
                                       PHONE: (304) 879-5511
                                       FAX: (304) 879-5012
 44   AMERCABLE INCORPORATED           AMERCABLE INCORPORATED                       TRADE DEBT                                       $454,704
                                       350 BAILEY ROAD
                                       ELDORADO, AR 71730
                                       PHONE: (800) 643-1516
                                       FAX: (870) 309-3582
 45   UNITED LEASING, INC.             UNITED LEASING, INC.                         REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                       ATTN: MARTHA AHLERS                          DAMAGES
                                       3700 MORGAN AVENUE
                                       EVANSVILLE, IN 47715
                                       PHONE: (812) 485-3578
                                       FAX: (812) 474-4359
                                       FAX: (812) 485-3642
 46   ALLEY TRUCKING LLC               ALLEY TRUCKING LLC                           TRADE DEBT                                       $425,569
                                       PO BOX 47
                                       BELFRY, KY 41514
                                       PHONE: (606) 353-4422
                                       FAX: (606) 353-1270
 47   LONGWALL ASSOCIATES, INC.        LONGWALL ASSOCIATES, INC.                    TRADE DEBT                                       $411,619
                                       212 KENDALL AVENUE
                                       CHILHOWIE, VA 24319
                                       PHONE: (276) 646-2004
                                       FAX: (276) 646-3999
 48   COALFIELD SERVICES INC           COALFIELD SERVICES INC                       TRADE DEBT                                       $402,002
                                       3203 PEPPERS FERRY ROAD
                                       WYTHEVILLE, VA 24382-4947
                                       PHONE: (276) 228-3167
                                       FAX: (276) 228-7912
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                        (1)                                (2)                              (3)                  (4)                  (5)

                                        Name, telephone number and complete          Nature of claim     Indicate if claim is   Amount of
Rank Name of creditor                   mailing address, including zip code, of      (trade debt, bank   contingent,            claim
                                        employee, agent, or department of creditor   loan, government    unliquidated,
                                        familiar with claim who may be contacted     contract, etc.)     disputed, or
                                                                                                         subject to setoff
 49   FIFTH THIRD LEASING COMPANY       FIFTH THIRD LEASING COMPANY                  REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                        ATTN: DAVID SCHLAF                           DAMAGES
                                        8000 MARYLAND AVENUE
                                        SUITE 1400
                                        ST. LOUIS, MO 63105
                                        PHONE: (314) 889-3307
                                        FAX: (314) 889-3377
 50   RBS ASSET FINANCE, INC.           RBS ASSET FINANCE, INC.                      REJECTION            UNLIQUIDATED          UNLIQUIDATED
                                        ATTN: JOHN STOGSDILL                         DAMAGES
                                        71 S WACKER DRIVE
                                        28TH FLOOR
                                        CHICAGO, IL 60606
                                        PHONE: (312) 777-3556
                                        FAX: (312) 777-4003
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       I, the undersigned authorized officer of the Company, named as the debtor in this case, declare

under penalty of perjury that I have reviewed the foregoing and that it is true and correct to the best of

my knowledge, information and belief, with reliance on appropriate corporate officers.


      Dated: New York, New York
             July 9, 2012


                                                        By:   /s/ Jacquelyn A. Jones
                                                               Jacquelyn A. Jones
                                                               Authorized Officer




                      [Signature page to Patriot Coal Corporation 50 Largest Unsecured Claims]
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:
                                                         Chapter 11

  PATRIOT COAL CORPORATION,                              Case No. 12- [     ](     )

                                                         (Jointly Administered)
  Debtor.


                        CORPORATE OWNERSHIP STATEMENT

           In accordance with Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure

  and Rule 1007-3 of the Local Rules for the United States Bankruptcy Court for the

  Southern District of New York, Patriot Coal Corporation (the “Company”) hereby states

  that no corporation directly or indirectly owns 10% or more of the Company’s

  equity interests.

           The Company does not own (directly or indirectly) 10% or more of any class of a

  corporation’s publicly traded equity interests. The Company does not own an interest in

  any general or limited partnership or joint venture.

           I, the undersigned authorized officer of the Company, named as the debtor in this

  case, declare under penalty of perjury that I have reviewed the foregoing and that it is

  true and correct to the best of my knowledge, information and belief, with reliance on

  appropriate corporate officers.


  Dated: New York, New York
          July 9, 2012

                                                  By: /s/ Jacquelyn A. Jones
                                                         Jacquelyn A. Jones
                                                         Authorized Officer
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                            PATRIOT COAL CORPORATION

                  Unanimous Written Consent of the Board of Directors


          The undersigned, being all the members of the Board of Directors (the “Board”)
  of Patriot Coal Corporation, a Delaware corporation (the “Company”), do hereby
  unanimously consent to and adopt pursuant to the laws of the State of Delaware the
  following resolutions:

         Commencement of Chapter 11 Case

          WHEREAS, the Board reviewed and considered the materials presented by the
  Company’s management team and its financial and legal advisors regarding the
  Company’s liabilities and liquidity, the strategic alternatives available to it and the impact
  of the foregoing on the Company’s businesses; and

          WHEREAS, the Board consulted with the Company’s management team and its
  financial and legal advisors, and have fully considered each of the Company’s strategic
  alternatives.

          NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board
  of the Company, it is desirable and in the best interests of the Company, its creditors,
  employees and other stakeholders that a petition be filed by the Company seeking relief
  under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
  Code”);

          RESOLVED, that each of the Chief Executive Officer, the Chief Financial
  Officer, General Counsel, Treasurer and Secretary (each, an “Authorized Officer”) be,
  and each of them hereby is, authorized on behalf of the Company to execute and verify
  petitions under chapter 11 of the Bankruptcy Code and to cause such petitions to be filed
  in the United States Bankruptcy Court for the Southern District of New York (the
  “Court”), each such petition to be filed at such time as the Authorized Officer executing
  the petition shall determine and to be in the form approved by the Authorized Officer
  executing such petition, such approval to be conclusively evidenced by the execution,
  verification and filing thereof;

         Retention of Advisors

          RESOLVED, that the law firm of Davis Polk & Wardwell LLP be, and hereby is,
  retained as counsel to the Company in the Company’s chapter 11 case, subject to the
  approval of the Court;

          RESOLVED, that the law firm of Curtis, Mallet-Prevost, Colt & Mosle LLP be,
  and hereby is, retained as conflicts counsel to the Company in the Company’s chapter 11
  case, subject to the approval of the Court;

         RESOLVED, that Blackstone Advisory Partners L.P. be, and hereby is, retained
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  as financial advisors for the Company in the Company’s chapter 11 case, subject to the
  approval of the Court;

        RESOLVED, that AP Services, LLC be, and hereby is, retained to provide
  temporary employees, interim management and restructuring services to the Company in
  the Company’s chapter 11 case, subject to the approval of the Court;

         RESOLVED, that Ted Stenger be, and hereby is, elected and appointed to serve
  as Chief Restructuring Officer of the Company reporting to the Chairman of the Board;

         RESOLVED, that GCG, Inc. be, and hereby is, retained as notice, claims and
  administrative agent for the Company in the Company’s chapter 11 case, subject to the
  approval of the Court; and

           RESOLVED, that the Authorized Officers be, and each of them hereby is,
  authorized on behalf of the Company to execute and file in the Company’s chapter 11
  case all petitions, schedules, motions, lists, applications, pleadings and other papers, and,
  in connection therewith, to retain and obtain assistance from additional legal counsel,
  accountants, financial advisors and other professionals, and to take and perform any and
  all further acts and deeds that any such Authorized Officer deems necessary or desirable
  in connection with the Company’s chapter 11 case.

          Debtor in Possession Financing

          WHEREAS, the Company and certain of its subsidiaries have determined to
  enter into the Credit Agreement (as defined below) to provide financing for superpriority
  senior secured debtor-in-possession credit facilities (including a roll-up of certain
  obligations outstanding under the Company's existing credit facility) in a combined
  aggregate principal amount of up to $802 million (the “Credit Facilities”), the proceeds
  of which will be used to refinance certain of the Company's obligations under the existing
  credit facility and the existing securitization facility, and for working capital, capital
  expenditures and other general corporate purposes;

          WHEREAS, the lenders under the Credit Facilities require, as a condition to the
  extension of the Credit Facilities, that the Company grant one or more security interests
  in substantially all of its assets to secure its obligations under the Credit Facilities; and

          WHEREAS, the Board has determined that (i) the Company will receive direct
  and indirect economic benefit from the Credit Facilities, (ii) it is in the best interest of the
  Company to enter into the Credit Agreement and the other Loan Documents (each as
  defined below) and (iii) it is in the best interest of the Company to authorize the
  appropriate officers of the Company to take any and all actions as they may deem
  appropriate to effect the transactions contemplated by the Credit Agreement and each of
  the other Loan Documents.

          NOW THEREFORE, BE IT RESOLVED, that the Company be, and it hereby
  is, authorized and empowered to enter into the Credit Agreement and each of the other
  Loan Documents, to borrow under the Credit Facilities at such times and in such amounts
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  as any Authorized Officer shall deem necessary or advisable and as shall be permitted to
  the terms of the Loan Documents, and to consummate all the other transactions
  contemplated by the Loan Documents, including, without limitation, to grant security
  interests in and pledge, mortgage or grant deeds of trust with respect to, its right, title and
  interest in and to its properties and assets to the extent required to secure its obligations
  under the Credit Facilities; and

          RESOLVED, that each of the Authorized Officers of the Company be, and each
  of them hereby is, authorized to negotiate, execute and deliver, in the name and on behalf
  of the Company, one or more definitive credit agreements (collectively, the “Credit
  Agreement”) and any other further documentation (including, without limitation, an
  intercreditor agreement, pledge agreements, guarantee agreements, security agreements,
  control agreements, promissory notes, mortgages, intellectual property security
  agreements, financing statements and other documents under which a security interest in
  the assets of the Company is being created, and each other agreement, document or
  instrument required thereunder, collectively and together with the Credit Agreement, the
  “Loan Documents”) in the form and upon the terms and conditions as any Authorized
  Officer may approve (such approval to be conclusively established by such Authorized
  Officer’s execution and delivery thereof), and to perform the Company’s obligations
  thereunder and to take all actions in accordance therewith that any of them may deem
  necessary or advisable to consummate the transactions contemplated thereby, and the
  actions of such Authorized Officers in negotiating the terms of, and in executing and
  delivering, each of the Loan Documents, and any other action taken in connection
  therewith, on behalf of the Company be, and the same hereby are, ratified, confirmed,
  approved and adopted.

         General Authorization and Ratification

          RESOLVED, that in connection with the Company’s chapter 11 case, the
  Authorized Officers be, and each hereby is, authorized and empowered on behalf of and
  in the name of the Company, to negotiate, execute, deliver, and perform or cause the
  performance of any notes, guarantees, security agreements, other agreements, consents,
  certificates, or instruments as such person considers necessary, appropriate, desirable or
  advisable to effectuate any other borrowing or other financial arrangements, such
  determination to be evidenced by such execution or taking of such action;

          RESOLVED, that the Authorized Officers be, and each of them hereby is,
  authorized, directed and empowered, in the name and on behalf of the Company, to take,
  or cause to be taken, any and all further actions (including, without limitation, (i) execute,
  deliver, certify, file and/or record and perform any and all documents, agreements,
  instruments, motions, affidavits, applications for approvals or rulings of governmental or
  regulatory authorities or certificates and (ii) pay fees and expenses in connection with the
  transactions contemplated by the foregoing resolutions) and to take any and all steps
  deemed by any such Authorized Officer to be necessary, advisable or desirable to carry
  out the purpose and intent of each of the foregoing resolutions, and all actions heretofore
  taken by any such Authorized Officer or the Governmental Body of the Subsidiary in
  furtherance thereof are hereby ratified, confirmed and approved in all respects;

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          RESOLVED, that the omission from these resolutions of any agreement,
  document or other arrangement contemplated by any of the agreements, documents or
  instruments described in the foregoing resolutions or any action to be taken in accordance
  with any requirement of any of the agreements or instruments described in the foregoing
  resolutions shall in no manner derogate from the authority of the Authorized Officers to
  take all actions necessary, desirable, advisable or appropriate to consummate, effectuate,
  carry out or further the transactions contemplated by, and the intent and purposes of, the
  foregoing resolutions; and

          RESOLVED, that this Unanimous Written Consent may be executed, by
  facsimile or otherwise, by the undersigned, in counterparts, each of which shall be an
  original, but all of which together shall constitute but one and the same document.



                                  [Signature Pages Follow]




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ J. Joe Adorjan
                                                   Name: J. Joe Adorjan
                                                   Title: Director




                  [Signature page to Patriot Coal Corporation Resolutions]
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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ Bobby R. Brown
                                                   Name: Bobby R. Brown
                                                   Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                   /s/ Irl F. Engelhardt
                                                   Name: Irl F. Engelhardt
                                                   Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ Michael P. Johnson
                                                   Name: Michael P. Johnson
                                                   Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ Janiece M. Longoria
                                                   Name: Janiece M. Longoria
                                                   Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ John E. Lushefski
                                                   Name: John E. Lushefski
                                                   Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                     /s/ Michael M. Scharf
                                                    Name: Michael M. Scharf
                                                    Title: Director




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        IN WITNESS WHEREOF, I have hereunto set my hand this 9th day of July, 2012.


                                                    /s/ Robert O. Viets
                                                   Name: Robert O. Viets
                                                   Title: Director




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